

Matter of Coopman (2018 NY Slip Op 07527)





Matter of Coopman


2018 NY Slip Op 07527


Decided on November 8, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 8, 2018


[*1]In the Matter of FRANCES MARY COOPMAN, an Attorney. 
(Attorney Registration No. 5276860)

Calendar Date: November 5, 2018

Before: Garry, P.J., Egan Jr., Mulvey, Aarons and Rumsey, JJ.


Frances Mary Coopman, Centerville, Ohio, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Frances Mary Coopman was admitted to practice by this Court in 2014 and lists a business address in Centerville, Ohio with the Office of Court Administration. Coopman has applied to this Court, by affidavit sworn to July 31, 2018, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Coopman is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the most recent biennial period beginning in 2018 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1).
However, Office of Court Administration records establish that Coopman has since become current in her New York attorney registration requirements and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that Coopman is now eligible to resign for nondisciplinary reasons (see Matter of Spencer, 164 AD3d 1076, 1077 [2018]), we grant the application and accept her resignation.
Garry, P.J., Egan Jr., Mulvey, Aarons and Rumsey, JJ., concur.
ORDERED that Frances Mary Coopman's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Frances Mary Coopman's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Frances Mary Coopman is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Coopman is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Frances Mary Coopman shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








